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                                           ORDERED.
 Dated: June 05, 2020




                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION
                                      www.flmb.uscourts.gov

In re :                                                             Case Number 6:20-bk-00798-LVV
                                                                    Chapter 7

Emmanuel Derilus,
                             Debtor(s).
______________________________________/

               ORDER AUTHORIZING RETENTION OF PATRICK BUTLER OF
              BK GLOBAL REAL ESTATE SERVICES AS BROKER AND KAVITA
              HANISHA UTTAMCHANDANI OF CENTURY 21 AS LISTING AGENT

          THIS CASE came on for consideration without hearing on the Trustee’s (I) Application to Retain
Patrick Butler of BK Global Real Estate Services as Broker to Procure Consented Private Sale Pursuant to
11 U.S.C. §§ 327, 328, and 330, and (II) Application to Retain Kavita Hanisha Uttamchandani of Century
21 Carioti as Listing Agent and to Procure Consented Private Sale Pursuant to 11 U.S.C. §§ 327, 328, and
330, (docket no. 27) filed June 3, 2020. Based upon the facts set forth in the application and declarations
by BK Global Real Estate Services and the Listing Agent, the Court concludes that BK Global Real Estate
Services and the Listing Agent do not hold or represent an interest adverse to the estate and are disinterested
persons within the meaning of § 101(14) of the Bankruptcy Code. The Court further concludes that BK
Global Real Estate Services and the Listing Agent are qualified to represent the Trustee and that the Court’s
authorization of their employment is in the best interest of the estate. Accordingly, it is
          ORDERED the Application is granted and the Court approves the retention of Patrick Butler of
BK Global Real Estate Services and Kavita Hanisha Uttamchandani of Century 21 Carioti to sell real
property located at 198 North Lake Court, Kissimmee, FL 34743, Parcel ID No. R072530-270601900430.
BK Global Real Estate Services (“BKRES”) and Listing Agent shall be compensated in accordance with




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the BKRES Declaration and Listing Agreement, respectively, and such compensation shall be subject to
the provisions of § 330 of the Bankruptcy Code. Upon a sale of property to a third party, BKRES and
Listing Agent shall receive a 6% commission, paid by Secured Creditor. In the alternative, if the property
is transferred to Secured Creditor, BKRES shall receive a 2% commission, paid by Secured Creditor,
$500.00 of which shall be paid to Listing Agent. Secured Creditor’s proposed compensation of BKRES
and Listing Agent shall be disclosed in any Motion for Order approving sale of Property. BK Global Real
Estate Services and Listing Agent shall be authorized to receive and retain their fees from Secured Creditor
at the successful closing of the sale of the Property, in accordance with the Order approving sale. The estate
shall, in no circumstance, be obligated to compensate BKRES or Listing Agent. BKRES and Listing Agent
shall not have a claim against the estate for any unpaid amounts. BKRES and Listing Agent, and anyone
claiming by, through or under either of them, shall only have recourse for recovering fees from Secured
Creditor. The estate shall have no liability for any such claims. BKRES and Listing Agent shall not be
awarded any compensation at an hourly rate. Compensation will be determined later in accordance with
11 U.S.C. § 330. The hourly rate is not guaranteed and is subject to review.

Special Counsel Kristen L. Henkel is directed to serve a copy of this Order on interested parties who do
not receive service by CM/ECF and file a proof of services within 3 days of entry of the Order.




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